 Case 1:24-mc-00330-CFC Document 25 Filed 08/06/24 Page 1 of 2 PageID #: 502




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

APPLE, INC.,

                             Petitioner,

                     v.
                                              Miscellaneous Action No. 24-330-
                                              CFC
OMNI BRIDGEWAY (USA) LLC,

                           Respondent.




                                      ORDER

      Petitioner Apple Inc. initiated this action by filing a motion to compel

Respondent Omni Bridgeway (USA) LLC to comply with a subpoena issued in the

Northern District of California in MPH Technologies OYv. Apple, Inc., Civ.

Action No. 3:18-CV-05935. D.I. 2. Pending before me is Omni's motion to

transfer. D.I. 10.

      Omni says that it consents to the transfer of this action to the Northern

District of California and has asked me to transfer the action to that court pursuant

to Federal Rule of Civil Procedure 45(f). D.I. 10 ,r 2. That rule provides in

relevant part that " [w ]hen the court where compliance is required did not issue the

subpoena, it may transfer a motion under this rule to the issuing court ifthe person
 Case 1:24-mc-00330-CFC Document 25 Filed 08/06/24 Page 2 of 2 PageID #: 503




subject to the subpoena consents or if the court finds exceptional circumstances."

Fed. R. Civ. P. 45(t) (emphasis added).

      Apple opposes Omni's transfer motion. See D.I. 20. But Apple does not

identify in its briefing and I cannot think of a good reason why I should expend

precious judicial resources making a decision that could very well and reasonably

be rendered moot or effectively nullified by the rulings of the judge who is

overseeing the underlying litigation.

      NOW THEREFORE, at Wilmington on this Sixth day of August in 2024, it

is HEREBY ORDERED that:

      1.     Respondent Omni Bridgeway's Motion to Transfer (D.I. 10) is

GRANTED; and

      2.     The Clerk of the Court is directed to TRANSFER immediately this

action to the United States District Court for the Northern District of California.




                                                                            F JUDGE




                                          2
